                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION

IN RE:                                                      )    Case No. 18-83442-CRJ-11
                                                            )
WILLIAM BARRIER ROBERTS,                                    )    Chapter 11
                                                            )
                    Debtor.                                 )
                                                            )

                     OBJECTION TO DEBTOR’S DISCLOSURE STATEMENT
                     PURSUANT TO BANKRUPTCY CODE SECTION 1125(a)

           Pursuant to § 1125(a) of Title 11 of the United States Code (the “Bankruptcy Code”), as

creditors and parties in interest in the above captioned proceeding (this “Case”), Melanie Hammer

Murray (“Melanie”), Rhett Murray (“Rhett”), and Bullet & Barrel, LLC (“Bullet & Barrel” and,

together with Melanie and Rhett, the “Creditors”) file this Objection to Debtor’s Disclosure

Statement Pursuant to Bankruptcy Code Section 1125(a) (this “Objection”) in response to the

Disclosure Statement for Chapter 11 Plan of William Barrier Roberts Debtor and Debtor-in-

Possession (Doc. 98) (the “Disclosure Statement”)1 filed by William Barrier Roberts (“Debtor”)

and in accordance with the Court’s Order Scheduling Hearing on Disclosure Statement and Setting

Deadline for Filing Objections to Disclosure Statement (Doc. 100). In support of this Objection,

the Creditors state as follows:


                                                RELIEF REQUESTED
           1.       The Creditors request that the Court order the Debtor to define the classes of claims

identified in the Disclosure Statement and Chapter 11 Plan of Reorganization of William Barrier

Roberts, Debtor and Debtor-in-Possession (Doc. 99) (the “Plan”) and to identify all claimants that

would fall within each class with sufficient specificity to allow the Creditors and all other parties


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    Capitalized terms used but not defined herein shall have the meanings ascribed to them by the Disclosure Statement.




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entitled to vote to accept or reject the Plan to determine whether voting to accept or reject the Plan

would be in their best interest. The Creditors further object to the Disclosure Statement to the

extent it contains incorrect or misleading information, including stating as fact matters that are

currently the subject of pending litigation in this Court, the outcome of which could have a material

impact on the feasibility of the Plan and on the Debtor’s overall reorganization efforts.


                                     JURISDICTION AND VENUE
        2.      The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334 and

the General Order of Reference from the United States District Court for the Northern District of

Alabama, dated January 12, 1995.

        3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.      The bases for the relief requested herein are §§ 105(a) and 1125(a) of the

Bankruptcy Code.


                                    PROCEDURAL BACKGROUND
        5.      On November 16, 2018, the Debtor commenced this Case by filing a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (Doc. 1).

        6.      On February 28, 2019, the Creditors each timely filed their respective proofs of claim

and amendments thereto. (See Claims 10–14).

        7.      On May 20, 2019, the Debtor filed his Disclosure Statement, asking the Court to,

among other things, approve the Disclosure Statement “as containing information of a kind, and in

sufficient detail, that would enable a hypothetical reasonable investor typical of the holders of claims

or interests in Classes 1 and 2 to make an informed judgment whether to accept or reject the Plan.”

(Disc. Statement, § I.B.1.). On the same date, the Debtor filed his proposed Plan.




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         8.        The Disclosure Statement and Plan create the following two classes of impaired

unsecured claims against the Debtor’s estate: Class 1—Allowed Unsecured Claims and Class 2—

Individual Equity. (Disc. Statement, 4; Plan, § I.B.2.01).

         9.        Neither the Disclosure Statement nor the Plan define “Individual Equity Claims” or

“Individual Equity”, but the Disclosure Statement and Plan each provide that “[n]o Individual Equity

payments are expected ….” (Disc. Statement § V.A.3; Plan § 3.01).

         10.       Neither the Disclosure Statement nor the Plan identify what claimants against the

Debtor’s estate hold claims that fall within the proposed “Individual Equity” class of claims, to which

the Debtor proposes to make no distributions under the Plan.

         11.       The Disclosure Statement makes the following representations:

              The primary reason for this bankruptcy arises from the mismanagement of
              Bullet & Barrel, LLC funds by the majority shareholder. As well as the ensuing
              “squeeze out” and dilution of the Debtor’s Interest in Bullet and Barrel. The
              Debtor invested money into the business, and the majority shareholder took
              steps to dilute the Debtor’s interest in the company. Due to mismanagement and
              majority oppression, the Debtor has become financially distressed.

              …

              The main reason for this bankruptcy arises from the mismanagement of Bullet
              & Barrel, LLC funds by the majority shareholder. The Debtor has invested
              money into that business and, due to mismanagement and majority oppression,
              the Debtor has become financially distressed.

(Id. at §§ II.B., III).
         12.       These representations are false and hotly contested, see (AP. Doc. 9),2 and the

Disclosure Statement does not even associate them with any disputed claims. Of course, the Creditors’

claims are disputed and arise from the transactions and occurrences that are being litigated in the AP,

the outcome of which could alter distributions under the Plan.


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  Indeed, the Bullet & Barrel Limited Liability Company Agreement, dated August 5, 2016, expressly waives the
fiduciary duties that the Debtor relies on for nearly all of the claims he asserts in the related AP No. 19-80017-CRJ
(the “AP”), currently pending before this Court.

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                                          BASIS FOR RELIEF

I.      The Court should not approve the Disclosure Statement because it does not provide
        adequate information.
        13.      Section 1125(a) of the Bankruptcy Code requires that a disclosure statement

adequately describe information essential to the ability of creditors to make informed decisions

regarding their treatment under the plan and whether it is in their best interests to vote in favor of

the plan. 11 U.S.C. § 1125(a)(1). “In short, a proper disclosure statement must clearly and

succinctly inform the average unsecured creditor what it is going to get, when it is going to get it,

and what contingencies there are to getting its distribution.” In re Ferretti, 128 B.R. 16, 19 (Bankr.

D.N.H. 1991).

        14.      The Disclosure Statement does not provide sufficient information when read

together with the Plan to allow the Creditors, or any “hypothetical investor typical of the holders

of claims or interests in the case,” 11 U.S.C. § 1125(a)(1), to make an informed decision about

whether the Plan is in their best interests.


              a. The Disclosure Statement does not identify “Individual Equity” claims or
                 otherwise define such claims, preventing creditors from making an informed
                 decision about whether the Plan is in their best interests.
        15.      Courts have developed the following 19-point, non-exhaustive list of the types of

information that are required in a disclosure statement:

          (1) the events which led to the filing of a bankruptcy petition; (2) a description
          of the available assets and their value; (3) the anticipated future of the company;
          (4) the source of information stated in the disclosure statement; (5) a disclaimer;
          (6) the present condition of the debtor while in Chapter 11; (7) the scheduled
          claims; (8) the estimated return to creditors under a Chapter 7 liquidation; (9)
          the accounting method utilized to produce financial information and the name
          of the accountants responsible for such information; (10) the future
          management of the debtor; (11) the Chapter 11 plan or a summary thereof; (12)
          the estimated administrative expenses, including attorneys' and accountants'
          fees; (13) the collectibility of accounts receivable; (14) financial information,
          data, valuations or projections relevant to the creditors' decision to accept or
          reject the Chapter 11 plan; (15) information relevant to the risks posed to

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           creditors under the plan; (16) the actual or projected realizable value from
           recovery of preferential or otherwise voidable transfers; (17) litigation likely to
           arise in a nonbankruptcy context; (18) tax attributes of the debtor; and (19) the
           relationship of the debtor with affiliates.

In re Metrocraft Publishing Services, Inc., 39 B.R. 567, 568 (Bankr. N.D. Ga. 1984) (emphasis

added).

          16.   These requirements are aimed at insuring that a “proposed disclosure statement

does … provide information of a kind, and in sufficient detail, to enable [creditors] to make an

informed judgment about the plan.” In re Feldman, 53 B.R. 355, 358 (Bankr. S.D.N.Y. 1985).

          17.   If a disclosure statement lacks information sufficient to enable creditors to make an

informed decision regarding the merits of a plan, then the disclosure statement cannot be approved.

Id.

          18.   As a preliminary matter, the Disclosure Statement does not articulate why the

Debtor proposes to divide unsecured claims against his estate into two classes, indicating that the

Plan’s proposed classification may very well constitute impermissible gerrymandering, In re New

Midland Plaza Associates, 247 B.R. 877 (Bankr. S.D. Fla. 2000), rendering the Plan “so fatally

flawed that confirmation is impossible.” In re Cardinal Congregate I, 121 B.R. 760, 764 (Bankr.

S.D. Ohio 1990) (citing In re Monroe Well Service, Inc., 80 B.R. 324 (Bankr. E.D. Pa. 1987); In

re Pecht, 57 B.R. 137 (Bankr. E.D. Va. 1986); In re Kehn Ranch, Inc., 41 B.R. 832 (Bankr. D.S.D.

1984)).

          19.   While the Debtor’s failure to explain this classification may provide an independent

reason for the Court not to approve the Disclosure Statement, Cardinal Congregate I, 121 B.R. at

764, the absence of any such explanation also makes it impossible for the Creditors, as well as any

other interested party, to determine whether it would be in their best interests to vote for the Plan




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because no claimant has any way to know whether they would be classified under Class 1—

Allowed Unsecured Claims or Class 2—Individual Equity. (Disc. Statement, 4; Plan, § I.B.2.01).

       20.      This distinction is of the utmost important to the holders of impaired claims against

the estate because the claims of parties that the Debtor intends to classify as “Unsecured Claims”

will receive “the greater of: the remainder of the disposable income of the Debtors after the

payment of all administrative and tax claims; or, $2,500.00 paid by the Debtors at the completion

of the Plan to the Disbursing Agent to be distributed pro rata to Allowed Unsecured Claims[,]”

(Plan, § 3.01), whereas claimants holding “Individual Equity” claims will receive nothing. (Id.).


             b. The Disclosure Statement mischaracterizes hotly contested issues as facts,
                preventing creditors from making an informed decision about whether the
                Plan is in their best interests.
       21.      A disclosure statement “should inform the reader what the undisputed claims are,

what the disputed claims are, what effect, if any, there will be on the distribution if disputed claims

are or are not allowed, and when will distribution be made.” In re Ferretti, 128 B.R. at 19. “This

requires a total dollar amount projected for the undisputed claims, and a total dollar amount

projected for the disputed claims should they be allowed over objections.” Id.

       22.      The Disclosure Statement asserts that Melanie’s “mismanagement and majority

oppression [are the main reason for this bankruptcy.]” (Disc. Statement § II.B.). But the Disclosure

Statement does not characterize these allegations or the Creditors’ related claims as disputed

claims, nor does it advise on what effect these claims might have on the feasibility of the Plan.

       23.      The Debtor’s representations about the history and reasons for commencing this Case

are misleading at best, and their inclusion as “facts” in the Disclosure Statement could give other

creditors and interested parties a false impression about the challenges facing the Debtor, and about

the Debtor’s ability to consummate his Plan.


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                                            CONCLUSION
        For all of the foregoing reasons, the Creditors respectfully request that the Court refuse to

approve the Debtor’s Disclosure Statement until such time as the Debtor 1) defines the classes of

claims identified in the Disclosure Statement and Plan and identify all claimants that would fall

within each class with sufficient specificity to allow the Creditors and all other parties entitled to

vote to accept or reject the Plan to determine whether voting to accept or reject the Plan would be

in their best interest, in accordance with Bankruptcy Code § 1125(a); 2) revise the Disclosure

Statement to acknowledge that the alleged reasons precipitating the Debtor’s petition are hotly

disputed, explaining how the Court’s determination of the related AP will affect the Plan with

sufficient specificity to allow the Creditors and all other parties entitled to vote to accept or reject

the Plan to determine whether voting to accept or reject the Plan would be in their best interest, in

accordance with Bankruptcy Code § 1125(a); and 3) grant such other and further relief as is just

and proper.

        Dated: June 20, 2019


                                                    /s/ Christian A. Pereyda
                                                    Jayna P. Lamar
                                                    Walter A. Dodgen
                                                    David R. Beasley
                                                    Christian A. Pereyda

                                                    Attorneys for Melanie Hammer Murray, Rhett
                                                    Murray, and Bullet & Barrel, LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 20, 2019, the foregoing was electronically filed with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.


                                                             /s/ Christian A. Pereyda
                                                             Of Counsel




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